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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION



DONNY PHILLIPS,

      Plaintiff,                         Case No. 4:18-cv-139-AW-MJF

v.

RICKY DIXON, et al.,

      Defendants.


     PLAINTIFF’S REPLY IN SUPPORT OF PETITION FOR
      WRITS OF HABEAS CORPUS AD TESTIFICANDUM

     Pursuant to the Court’s Order on Plaintiff’s Motion for Leave

[D.E. 431], Plaintiff Donny Phillips replies in support of his Petition for

Writs of Habeas Corpus Ad Testificandum [D.E. 421] as follows:

     The Court asked Plaintiff to address whether Kenny Snell’s

testimony would have any relevance to Plaintiff’s claims now that he

has settled with Defendant Cort. [D.E. 431 at pp. 1–2]. Since the entry

of the Court’s Order, Plaintiff has also settled with Defendant

Crutchfield, implicating witnesses Anthony Andrews, Dean Scott

Daniels, and Robert Easley as well. At this stage the only remaining

Defendant is Labridia Gregory. The testimony of Andrews, Daniels,
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Easley, and Snell are not relevant to Plaintiff’s claims against

Defendant Gregory. Accordingly, Plaintiff no longer seeks a writ of

habeas corpus as to Andrews, Daniels, Easley, and Snell and

respectfully withdraws the Petition solely as to those four individuals.

The remaining nonparty witness in the Petition—Craig McCammon—

has relevant testimony as to Defendant Gregory’s wrongful conduct in

retaliation for Plaintiff’s exercise of his First Amendment rights. The

Court should issue writs as to Plaintiff and McCammon.

     WHEREFORE, Plaintiff Donny Phillips respectfully withdraws

his Petition as to Anthony Andrews, Dean Scott Daniels, Robert Easley,

and Kenny Snell, and requests issuance of writs of habeas corpus ad

testificandum as to Plaintiff and Craig McCammon.

Dated: February 4, 2022.

                                  Respectfully submitted,

                                  SLATER LEGAL PLLC

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                                         Counsel for Plaintiff

                      CERTIFICATE OF SERVICE

     I hereby certify that on February 4, 2022, I electronically filed the

foregoing document with the Clerk by using the CM/ECF system, which

will serve a copy on all counsel of record. A copy will also be mailed to

Defendant Labridia Gregory, pro se, at 3308 Addison Lane, Tallahassee,

Florida 32317-9048.

                                         By: /s/ James M. Slater
                                              James M. Slater

           CERTIFICATION PURSUANT TO L.R. 7.1(F)

     Pursuant to Local Rule 7.1(F), I hereby certify that the foregoing

document contains 235 words, inclusive of headings but exclusive of the

case style, signature block and certificates.

                                         By: /s/ James M. Slater
                                              James M. Slater



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